                                            Case 2:14-cr-00046-APG-CWH             Document 97            Filed 04/17/17   Page 1 of 5




                                        1    DRUMMOND LAW FIRM
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                                             Craig@DrummondFirm.com
                                        6    Appointed Attorney for Defendant Oats

                                        7
                                                                  UNITED STATES DISTRICT COURT
810 S. CASINO CENTER BLVD, SUITE 101




                                        8                              DISTRICT OF NEVADA
      DRUMMOND LAW FIRM

      LAS VEGAS, NEVADA 89101




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                                             UNITED STATES OF AMERICA,                                )
                                       10                                                             )
                                                    Plaintiff,                                        )    CASE NO.: 2:14-cr-00046-APG-CWH
                                       11                                                             )
                                       12           vs.                                               )
                                                                                                      )        STIPULATION AND ORDER
                                       13    BRANDON T. OATS                                          )       TO CONTINUE SENTENCING
                                                                                                      )
                                       14
                                                    Defendants.                                       )
                                       15                                                             )

                                       16
                                       17           IT IS HEREBY STIPULATED AND AGREED, by and between CRAIG W.
                                       18    DRUMMOND, ESQ., attorney for Defendant BRANDON OATS, and DANIEL SCHIESS,
                                       19    Assistant United States Attorney for Plaintiff, that the Sentencing and Disposition currently set for
                                       20    April 18, 2017 be reset to May 16, 2017 at 1:30p.m, the same Sentencing date as co-defendant
                                       21    Abner J. Thompson, Jr.
                                       22           This Stipulation is entered into for the following reasons:
                                       23           1.       Defendant Oats is not currently incarcerated and does not object to this
                                       24    continuance.
                                       25           2.       Sentencing and Disposition of co-defendant Abner J. Thompson, Jr. was re-set to
                                       26    May 16, 2017.
                                       27           3.       Defendant Oats is requesting to be Sentenced on the same date as his co-defendant,
                                       28    Thompson.


                                                                                             Page 1
                                            Case 2:14-cr-00046-APG-CWH              Document 97        Filed 04/17/17       Page 2 of 5




                                        1             4.     Defense counsel for Mr. Oats has spoken to Daniel Schiess, Assistant United States
                                        2    Attorney, and he has no objection to this continuance.
                                        3             5.     Denial of this request for continuance could result in a miscarriage of justice.
                                        4             6.     This is the parties’ first stipulation to continue Sentencing in this matter.
                                        5
                                        6             DATED this 17th day of April, 2017.
                                        7
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                                        8       By:      / s / Craig W. Drummond         _              By:     / s / Daniel Schiess         _
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                                                      CRAIG W. DRUMMOND, ESQ.                                 DANIEL SCHIESS, ESQ.
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                                       10             Las Vegas, NV 89101                                     Las Vegas, NV 89101
                                       11             Attorney for Defendant Oats                             Assistant United States Attorney

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                                            Case 2:14-cr-00046-APG-CWH                Document 97            Filed 04/17/17   Page 3 of 5




                                        1                            UNITED STATES DISTRICT COURT
                                        2                                 DISTRICT OF NEVADA
                                        3
                                             UNITED STATES OF AMERICA,                                   )
                                        4                                                                )
                                                        Plaintiff,                                       )       Case No.: 2:14-cr-00046-APG-CWH
                                        5                                                                )
                                        6               vs.                                              )
                                                                                                         )          ORDER TO CONTINUE
                                        7    BRANDON T. OATS                                             )             SENTENCING
                                                                                                         )
810 S. CASINO CENTER BLVD, SUITE 101




                                        8               Defendant.                                       )
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                                       10                                              FINDINGS OF FACT
                                       11
                                                        Based on the pending Stipulation of counsel and good cause appearing therefore, the Court
                                       12
                                             finds that:
                                       13
                                                        1.      Defendant Oats is not currently incarcerated and does not object to this
                                       14
                                             continuance.
                                       15
                                                        2.      Sentencing and Disposition of co-defendant Abner J. Thompson, Jr. was re-set to
                                       16
                                             May 16, 2017.
                                       17
                                                        3.      Defendant Oats is requesting to be Sentenced on the same date as his co-defendant,
                                       18
                                             Thompson.
                                       19
                                                        4.      Defense counsel for Mr. Oats has spoken to Daniel Schiess, Assistant United States
                                       20
                                             Attorney, and he has no objection to this continuance.
                                       21
                                                        5.      Additionally, denial of this request for continuance could result in a miscarriage of
                                       22
                                             justice.
                                       23
                                                                                    CONCLUSIONS OF LAW
                                       24
                                       25               For all of the above-stated reasons, the ends of justice would best be served by granting a
                                       26    continuance of the current Sentencing and Disposition date to May 16, 2017.
                                       27
                                       28


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                                            Case 2:14-cr-00046-APG-CWH          Document 97          Filed 04/17/17   Page 4 of 5




                                        1                                               ORDER
                                        2
                                                    IT IS THEREFORE ORDERED, that the current Sentencing and Disposition date of
                                        3
                                             April 18, 2017 be vacated and continued to May 16, 2017 at the hour of 2:00 p.m. in Courtroom
                                        4
                                             6C.
                                        5
                                        6                       17th day of ________________,
                                                    DATED this ______        April            2017.
                                        7
810 S. CASINO CENTER BLVD, SUITE 101




                                        8
                                                                                                   _____________________________________
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                                                                                                      UNITED STATES DISTRICT JUDGE
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                                            Case 2:14-cr-00046-APG-CWH          Document 97        Filed 04/17/17   Page 5 of 5




                                        1                                   CERTIFICATE OF SERVICE
                                        2
                                                    I HEREBY CERTIFY that on this 17 th day of April, 2017, the undersigned served the
                                        3
                                        4    foregoing STIPULATION & ORDER TO CONTINUE SENTENCING on all counsel herein by

                                        5    causing a true copy to be served via the CM/ECF system.
                                        6
                                        7
                                                                                                      /s/   April Drummond       _
810 S. CASINO CENTER BLVD, SUITE 101




                                        8                                                         An Employee of DRUMMOND LAW FIRM
      DRUMMOND LAW FIRM

      LAS VEGAS, NEVADA 89101




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